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                                         MICHAEL HUESTON
                                                ATTORNEY                  A T     LAW
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      A D M I T T E D    N Y
                                                                December 18, 2023


BY ECF
The Honorable LaShann DeArcy Hall
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                        Re: United States v. Jordan, et al., 20-CR-305 (S-2)(LDH)


Your Honor:
            This letter is submitted on behalf of defendant Karl Jordan.

         Please find enclosed defendant’s proposed clothing order. If it is acceptable, I request
that it be endorsed and stamped for counsel to pick up, so that Mr. Jordan can be provided with
appropriate clothing for trial.

                                                                                      Respectfully,

                                                                                      s/Michael Hueston

cc:         Counsel of Record




Enc.
